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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 GALDERMA LABORATORIES, L.P.                    §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §    CIVIL ACTION NO. ________________
                                                §
 RX PLUS LLC d/b/a RX PLUS                      §
 PHARMACY, LOUISE GATTI, AND                    §
 ELISA VALENTI                                  §
                                                §
        Defendants.                             §


                          PLAINTIFF’S ORIGINAL COMPLAINT


       Plaintiff Galderma Laboratories, L.P. (“Galderma”) files its Original Complaint asserting

claims against Defendants RX Plus LLC d/b/a RX Plus Pharmacy (the “Pharmacy”), Louise Gatti

(“Gatti”) and Elisa Valenti (“Valenti” and together with the Pharmacy and Gatti, the “Defendants”)

and respectfully states as follows:

                                            I.
                                         OVERVIEW

       1.      Galderma is plagued by pharmacies that, for the last several years, have engaged in

healthcare scams by taking advantage of Galderma’s CareConnect program, which is intended to

allow patients to purchase Galderma’s prescription products for little or no co-pay. In connection

with this program, certain pharmacies and pharmacists have been submitting wholly fraudulent

reimbursement claims for Galderma’s prescription products—products the pharmacies never sold

and yet the pharmacies bilked Galderma into paying. Defendants are among the pharmacies

engaged in such healthcare fraud against Galderma.




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                                             II.
                                           PARTIES

       2.      Plaintiff Galderma Laboratories, L.P. is a Texas limited partnership with its

principal place of business at 14501 North Freeway, Fort Worth, Texas 76177.

       3.      Defendant RX Plus LLC d/b/a RX Plus Pharmacy operates in and its member is a

citizen and resident of New York. RX is engaged in business in Texas by contracting with a Texas

entity and purchasing that Texas entity’s products, some of which come from Texas distribution

facilities. RX can be personally served through its officer, Louise Gatti, at 71-30 Myrtle Avenue,

Glendale, New York 11385 or wherever she may be found.

       4.      Defendant Louise Gatti is a resident and citizen of New York and is engaged in

business in Texas by contracting with a Texas entity and purchasing that Texas entity’s products,

some of which come from Texas distribution facilities. Gatti can be personally served at 71-30

Myrtle Avenue, Glendale, New York 11385 or wherever she may be found.

       5.      Defendant Elisa Valenti is a resident and citizen of New York and is engaged in

business in Texas by contracting with a Texas entity and purchasing that Texas entity’s products,

some of which come from Texas distribution facilities. Valenti can be personally served at 9102

78th Street, Woodhaven, NY 11421-2902 or wherever she may be found.

                                           III.
                                 JURISDICTION AND VENUE

       6.      This court has subject matter jurisdiction under 28 U.S.C. § 1332 because the

amount in controversy exceeds $75,000, exclusive of interest and costs, and the parties’

citizenships are diverse. Specifically, Galderma seeks nearly $500,000 dollars and this action is

between Galderma, a citizen of the State of Texas on the one hand, and Defendants, citizens of a

foreign state (New York) on the other.




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        7.       Venue is proper in Tarrant County, Texas because the contract giving rise to and

made the subject of this lawsuit expressly provides that it is governed by Texas law and provides

for venue in Tarrant County, Texas. Atlantic Marine Construction Co. v. United States District

Court for the Western District of Texas, 571 U.S. 49 (2013).

        8.       This Court has personal jurisdiction over Defendants because they conduct business

in Texas and, in the agreement with Galderma, Defendants expressly consented to exclusive

jurisdiction in Texas.

                                              IV.
                                        BACKGROUND FACTS

A.      Galderma and its CareConnect Card.

        9.       Galderma—founded in 1981—is a skin care company located in Fort Worth, Texas

whose mission is aimed at enhancing the quality of people’s lives by focusing on science-based

solutions for skin health. Galderma manufactures and sells both over the counter and prescription

products.

        10.      In order to better serve patients using its prescription products, Galderma offers the

Galderma® CareConnect Patient Savings Card (“CareConnect Card”) that allows uninsured and

commercially insured patients to purchase Galderma’s products for little or no co-pay at

participating pharmacies. 1

        11.      The CareConnect Card can be used for one or more Galderma prescription

products. When a patient presents his or her prescription for the Galderma product, insurance (if

any) and the CareConnect Card, the pharmacy dispenses the Galderma product to the patient.

Upon dispensing the Galderma product to the patient, the patient pays the pharmacy a discounted



1
 The discounted pricing available to patients who use CareConnect Card is available on the CareConnect website at
https://www.galdermacc.com/pricing-information.




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co-pay set by the patient’s insurance provider, if any, and Galderma’s CareConnect Card’s Terms

and Conditions. In addition, the pharmacy seeks reimbursement from the insurance provider (if

any) and reimbursement from Galderma. The amount of reimbursement the pharmacy seeks from

Galderma is the difference between the cost the pharmacy purchased the Galderma product for

less the reimbursement it receives from the insurance company and the co-pay paid by the patient.

The average reimbursement varies – because the patient may be uninsured or insured – but can

exceed $400 for a single prescription.

B.      Defendants’ relationship with Galderma.

        12.      Gatti owns RX Plus LLC d/b/a RX Plus Pharmacy based in Glendale, New York.

Valenti was the pharmacist in charge of the Pharmacy at all relevant times.

        13.      Among other things, the Pharmacy sells Galderma products. Because the Pharmacy

sells Galderma products and claims reimbursement from Galderma under the CareConnect Card

(“Claims”), it, Gatti and Valenti agreed to and accepted the CareConnect Card’s Terms and

Conditions.2

        14.      Under the CareConnect Card’s Terms and Conditions, Valenti and Gatti, on behalf

of the Pharmacy, may only submit a reimbursement Claim to Galderma when (a) the Pharmacy

receives a valid prescription for a Galderma prescription product; (b) the patient and/or the

Pharmacy uses the CareConnect Card; (c) the Galderma product is covered by the CareConnect

Card; and (d) the Pharmacy actually dispenses a Galderma product to the patient.




2
 The CareConnect Terms and Conditions available at:
https://www.galdermacc.com/sites/default/files/pdf/TermsConditions.pdf.




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C.    Defendants’ fraudulent scheme to steal money from Galderma by abusing the terms
and conditions of the CareConnect Card.

           15.      Between January 1, 2017 to December 31, 2019, Valenti and Gatti submitted on

behalf of the Pharmacy 14,605 Claims against Galderma’s CareConnect Card, but had only

purchased 11,402 Galderma products to dispense. In other words, Valenti and Gatti submitted

3,203 fraudulent Claims for Galderma products that the Pharmacy did not actually dispense to its

patients (the “False Claims”). Galderma paid the Pharmacy a minimum of $496,228.90 on the

False Claims over the last three years.

           16.      Galderma recently discovered the discrepancy in Defendants’ Claims and flagged

their activity as suspicious. In response, on or around September 27, 2019, Galderma requested

Defendants validate both the Pharmacy’s purchases of Galderma products between January 1,

2017 to August 31, 2019, and address any anomalies Galderma was seeing in the Claims.

Defendants ignored this request and continued submitting False Claims.

           17.      Accordingly, Defendants have stolen at least $496,228.90 from Galderma for

fraudulent “reimbursements” for False Claims under the CareConnect Card.

                                                      V.
                                              CAUSES OF ACTION 3

A.         Fraud

           18.      Galderma incorporates the foregoing paragraphs, the same as if fully set forth

herein.

           19.      Defendants made misrepresentations to Galderma. Specifically, Defendants

submitted 3,203 False Claims for Galderma’s products. When Defendants made the

misrepresentations to Galderma (through McKesson, Galderma’s administrator of the



3
    To the extent necessary, Galderma pleads and asserts each of its causes of action in the alternative.




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CareConnect Card program), Defendants knew the representations were false because Defendants

did not actually purchase the products from Galderma or any wholesaler; thus, Defendants did not

actually dispense the product to any patients. Defendants made the misrepresentations with the

intent that Galderma act on them.

          20.   These misrepresentations were material to Galderma’s decision to reimburse

Defendants under its CareConnect Card program. Galderma relied on these misrepresentations and

acted on these misrepresentations when it paid Defendants for the False Claims made under the

CareConnect Card.

          21.   Defendants’ fraud injured Galderma who has incurred damages in excess of this

Court’s minimum jurisdictional amount, for which all or some of the Defendants are jointly and

severally liable. Further, because Defendants intentionally, willfully, wantonly, maliciously, and

without justification or excuse committed fraud against Galderma, Galderma is also entitled to

recover exemplary damages from Defendants in an amount to be determined by the trier of fact.

Galderma’s damages will continue to accrue if Defendants continue their fraudulent conduct.

Galderma seeks equitable relief, including but not limited to, the imposition of a constructive trust.

B.        Breach of CareConnect Card’s Terms and Conditions

          22.   Galderma incorporates the foregoing paragraphs, the same as if fully set forth

herein.

          23.   The CareConnect Card’s Terms and Conditions is a valid and enforceable contract.

By using the CareConnect Card and seeking reimbursement for Claims under the CareConnect

Card, Defendants agreed to be bound by this contract.

          24.   Defendants breached the CareConnect Card’s Terms and Conditions by, among

other things, submitting False Claims.




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          25.   Defendants’ breach of the CareConnect Card’s Terms and Conditions have caused

harm to Galderma, for which all or some of the Defendants are jointly and severally liable.

Galderma seeks actual damages in an amount and of a character within this Court’s jurisdiction,

plus pre-judgment and post-judgment interest in the maximum amount allowed by law.

C.        Money Had and Received

          26.   Galderma incorporates the foregoing paragraphs, the same as if fully set forth

herein.

          27.   Defendants submitted False Claims under Galderma’s CareConnect Card and

received monies from Galderma for those False Claims. The benefit Defendants received was

obtained by taking advantage of Galderma and its free CareConnect Card program. Defendants

have unjustly enriched themselves at Galderma’s expense and, as a result, hold on to money that,

in equity and good conscience, belongs to Galderma.

          28.   Accordingly, Galderma has suffered damages, for which all or some of the

Defendants are jointly and severally liable. Based on the fundamental principles of justice, equity,

and good conscience, Galderma seeks actual damages in an amount and of a character within this

Court’s jurisdiction, plus pre-judgment and post-judgment interest in the maximum amount

allowed by law.

D.        Attorneys’ Fees

          29.   Galderma seeks its reasonable and necessary attorneys’ fees from Defendants under

Texas Civil Practice & Remedies Code § 38.001.

                                          VI.
                                 CONDITIONS PRECEDENT

          30.   All conditions precedent to Galderma’s claims for relief have been performed, have

occurred, and/or have been waived.




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                                              VII.
                                            PRAYER

       THEREFORE, Galderma asks that this Court set this matter for trial and upon trial enter

judgment in its favor, and against Defendants, awarding Galderma all direct and consequential

damages; punitive damages; its costs of suit, including reasonable and necessary attorneys’ fees

and expenses for the prosecution and appeal, if any, of this matter; pre-judgment and post-

judgment interest on all sums awarded in the Court’s judgment; and granting Galderma such other

and further relief, general or special, as this Court may deem just and proper.

                                              Respectfully submitted,

                                              /s/ David J. Drez III
                                              David J. Drez III
                                              State Bar No. 24007127
                                              david.drez@wickphillips.com
                                              Lauren K. Drawhorn
                                              State Bar No. 24074528
                                              lauren.drawhorn@wickphillips.com
                                              Schyler P. Parker
                                              State Bar No. 24092937
                                              schyler.parker@wickphillips.com
                                              WICK PHILLIPS GOULD & MARTIN LLP
                                              100 Throckmorton Street, Suite 1500
                                              Fort Worth, Texas 76102
                                              Telephone:     (817) 332-7788
                                              Facsimile:     (817) 332-7789

                                              ATTORNEYS PLAINTIFF FOR GALDERMA
                                              LABORATORIES, L.P.




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